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                                                                                                           AP
                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                                                                                          Mar 2, 2021
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303
                                                                                                                  MIAMI

  David J. Smith                                                                      For rules and forms visit
  Clerk of Court                                                                      www.ca11.uscourts.gov


                                           March 02, 2021

   Clerk - Southern District of Florida
   U.S. District Court
   400 N MIAMI AVE
   MIAMI, FL 33128-1810

   Appeal Number: 19-10133-GG
   Case Style: Mitzy Batista v. South Florida Womans Health, et al
   District Court Docket No: 0:18-cv-61075-FAM

   A copy of this letter, and the judgment form if noted above, but not a copy of the court's
   decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
   was previously forwarded to counsel and pro se parties on the date it was issued.

   The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
   was previously provided on the date of issuance.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Lois Tunstall
   Phone #: (404) 335-6191

   Enclosure(s)
                                                                       MDT-1 Letter Issuing Mandate
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                             UNITED STATES COURT OF APPEALS
                                   For the Eleventh Circuit
                                       ______________

                                            No. 19-10133
                                           ______________

                                       District Court Docket No.
                                         0:18-cv-61075-FAM

   MITZY BATISTA,

                                                      Plaintiff - Appellant,

   versus

   SOUTH FLORIDA WOMANS HEALTH ASSOCIATES, INC.,
   South Forida Woman's Health Association,
   EDWARD D. ECKERT,
   South Florida Woman's Health Association,

                                               Defendants - Appellees.
                         __________________________________________

                         Appeal from the United States District Court for the
                                    Southern District of Florida
                         __________________________________________

                                             JUDGMENT

   It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
   entered as the judgment of this Court.

                                     Entered: February 01, 2021
                           For the Court: DAVID J. SMITH, Clerk of Court
                                           By: Jeff R. Patch




  ISSUED AS MANDATE 03/02/2021
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                                                            [DO NOT PUBLISH]



                IN THE UNITED STATES COURT OF APPEALS

                         FOR THE ELEVENTH CIRCUIT
                           ________________________

                                 No. 19-10133
                             Non-Argument Calendar
                           ________________________

                       D.C. Docket No. 0:18-cv-61075-FAM



  MITZY BATISTA,

                                                               Plaintiff-Appellant,

                                      versus

  SOUTH FLORIDA WOMANS HEALTH ASSOCIATES, INC.,
  South Florida Woman’s Health Association,
  EDWARD D. ECKERT,
  South Florida Woman’s Health Association,

                                                            Defendants-Appellees.

                           ________________________

                    Appeal from the United States District Court
                        for the Southern District of Florida
                          ________________________

                                (February 1, 2021)

  Before WILSON, BRANCH, and JULIE CARNES, Circuit Judges.

  PER CURIAM:
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         Employed for a little over two weeks by defendant South Florida Woman’s

  Health Associates, Inc., Plaintiff Mitzy Batista was fired when she missed a day of

  work. She says that she never received her last paycheck, but Defendants claim

  that they mailed the wages due her to her last known address. Within a couple of

  weeks of being fired, Plaintiff met with attorney Elliot Kozolchyk who, three

  months later, filed suit on her behalf under the Fair Labor Standards Act (“FLSA”).

  Upon receiving notice of the lawsuit, the owner of the medical practice, defendant

  Dr. Edward Eckert, offered to send Plaintiff a check for her unpaid wages. But

  settlement of the litigation was stymied by Kozolchyk’s insistence on receiving

  attorney’s fees in an amount greater than Dr. Eckert thought was reasonable.

  Ultimately, the parties settled, leaving to the district court the task of deciding the

  question of reasonable attorney’s fees.

         The district court adopted the recommendation of the magistrate judge, who

  determined that it would be unreasonable to award Kozolchyk any fees, given the

  latter’s conduct before and during the litigation. Plaintiff has appealed, arguing

  that the district court abused its discretion in so ruling. For the reasons explained

  below, we remand for the district court to make necessary findings of fact and

  thereafter to issue its ruling.




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  I.     BACKGROUND

         A.      Plaintiff’s Termination, Post-Termination Communications, and
                 Unpaid Wages

         Plaintiff began working for Defendants on January 17, 2018 and was paid at

  the end of her first pay period via direct deposit. [Doc. 38-1 at 1] Shortly

  thereafter, on February 5, 2018, Plaintiff was fired for missing a day of work. [Id.]

  According to Plaintiff’s Complaint, Defendants owed her $275.50 for the 38 hours

  she worked but had not yet been paid at the time she was fired. [Doc. 1-3] It is

  Defendants’ position that on the same day she was fired, Plaintiff called their

  office demanding to be paid immediately. Defendants assert 1 that Plaintiff was

  told that her check would be cut and mailed along with the other employees’

  checks at the end of the normal pay period. [Doc. 36-9 at 23; Doc. 35-1 at 25]

  Defendants say that their records show that just three days after Plaintiff’s

  termination, Defendants cut her a final paycheck in the amount of $479.03. 2 They

  assert that the relevant paystub listed the address Plaintiff provided and reflected

  that the payroll and other taxes were paid. [Doc. 23 at 1-2] Defendants allege that



  1
    Although Defendants have maintained this position throughout this litigation, they did not file
  an affidavit confirming the facts asserted.
  2
    The amount on this check does not jibe with the lesser amount of past wages claimed by
  Plaintiff in this litigation because under the FLSA an employee is entitled only to the minimum
  wage for hours worked, whereas Plaintiff’s salary exceeded the minimum wage rate and the
  amount on the check Defendants allege to have written apparently reflects the actual pay due
  Plaintiff, less taxes withheld. [See Doc. 23 at 2 and Doc. 23-1]
                                                  3
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  they sent this check to Plaintiff’s address and assumed all was well because

  Plaintiff did not reach out again after her initial phone call and the envelope

  transmitting the check was not returned to them. [Doc. 35-1 at 25; Doc. 17 at 2]

  Indeed, Defendants allege that all taxes were paid when the check was written,

  which they say proves that the check was written. [Doc. 18-3 at 2]

         It is Plaintiff’s position that she called Defendants’ office the day after she

  was fired and asked for her final paycheck.3 [Doc. 38-1 at 2] Plaintiff stated that

  the person in charge of payroll informed her she would be paid via direct deposit.

  [Id.] Plaintiff says she called back a few days later and was told by the receptionist

  that defendant Eckert was not going to pay her. [Id.] Within a couple of weeks,

  she retained counsel. Plaintiff affies that she never received a final paycheck from

  Defendants by mail or otherwise and that her bank records indicate that Defendants

  never paid her via direct deposit for this final payment, although those records

  show Defendants had earlier paid her via such a deposit. It is undisputed that the

  check allegedly sent to Plaintiff for her unpaid hours of work was never cashed.

  [Doc. 38-1 at 2-3; Doc. 23-1 at 1; Doc. 35-1 at 25]




  3
    Plaintiff provided an affidavit to this effect but appears not to have made this assertion until
  after the magistrate judge had issued its report and recommendation denying her request for
  attorney’s fees. [Doc. 38-1] That said, and as noted above, Defendants have never provided an
  affidavit supporting their version of events.


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         B.     Plaintiff’s Complaint and Defendant Eckert’s Attempt to Tender
                Her Final Paycheck

         Plaintiff met with her counsel in this case, Elliot Kozolchyk, on February 23,

  2018, which was almost three weeks after she had been fired. [Doc. 30-2 at 1] It

  is undisputed that during the nearly three months that followed, neither Plaintiff

  nor Kozolchyk ever contacted Defendants to inform them that Plaintiff had not

  received a final paycheck. [Doc. 36-2 at 1] On May 13, 2018, Plaintiff sued

  Defendants in the Southern District of Florida for violations of the minimum-wage

  provisions of the FLSA. [Doc. 1 at 1] Per §216(b) of that statute, Plaintiffs sought

  $551 in damages, which included the $275.50 in unpaid wages4 plus liquidated

  damages in an equal amount. [Id. at 2; Doc. 1-3 at 1] Plaintiff also sought

  attorney’s fees and costs, which are typically awarded to plaintiffs who prevail in

  actions under the FLSA. [Doc. 1 at 2]

         On May 25, 2018, less than two weeks after Plaintiff filed her complaint,

  Defendant Eckert emailed Kozolchyk an offer to send a replacement check for the

  amount owed in order to “clear up this misunderstanding.” [Doc. 35-1 at 25]

  Defendant Eckert stated that until being served with Plaintiff’s complaint, he was

  unaware that Plaintiff had claimed not to receive the check Defendants had mailed

  her. [Id.; Doc. 36-9 at 1] At this point, Kozolchyk’s own billing records showed


  4
   This figure was arrived at by multiplying the 38 hours of unpaid work by the $7.25 federal
  minimum hourly wage rate.
                                                 5
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  that he had expended only 4.3 hours of time on the case. Kozolchyk did not

  respond to Eckert’s offer. [Doc. 30-2 at 1]

        C.     Settlement Negotiations and Disputes Over Plaintiff’s Counsel’s
               Attorney’s Fees

        Approximately two weeks later, on June 13, 2018, the corporate defendant’s

  counsel followed up with Kozolchyk, expressing both defendants’ desire to settle

  the case. [Doc. 36-3 at 1] Corporate counsel indicated that defendant Eckert

  stated that “there was a miscommunication with the payment” and further “that

  check payment was offered, but it was not accepted.” [Id.] Counsel stated that the

  case could be “easily resolved” by paying Plaintiff the $551 in unpaid wages

  sought in her complaint: that is, the unpaid wages plus an amount equal to those

  wages as liquidated damages. [Id.] Kozolchyk responded that Plaintiff also

  wished to settle. [Id. at 2]

        Later that day, defendant Eckert himself emailed Kozolchyk an offer to

  settle for the entire amount of unpaid wages sought plus court costs, but not her

  attorney’s fees. [Doc. 35-1 at 20-21] Defendant Eckert stated that Plaintiff should,

  “in all fairness,” pay her attorney’s fees out of her settlement. [Id.] Kozolchyk did

  not respond to this email and did not communicate with Defendants for more than

  a month. Then, on July 9, 2018, he rejected defendant Eckert’s settlement offer,

  stating that “my client cannot agree to shoulder the fees in this case . . . [for] those

  are recoverable against the defendants above and beyond the value of the claim.”
                                              6
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  [Doc. 36-6 at 1] His delay in responding meant that Defendants were up against a

  court-ordered deadline to agree to a mediator by July 11. [Id.]

        Later that day, Kozolchyk spoke with defendant Eckert over the phone to

  negotiate the terms of a potential settlement. Their discussion apparently focused

  primarily on Kozolchyk’s attorney’s fees. As to what was actually said, the

  subsequent emails between the two reveal their disagreement about the content of

  the discussion—and deciphering what was actually said is both tedious and

  problematic for one not a party to the conversation. It appears that Kozolchyk first

  sought attorney’s fees in the amount of $3,200. [Doc. 36-8 at 1] Defendant Eckert

  balked at that “ridiculous” figure, asking to review Kozolchyk’s billing records,

  which apparently the latter never provided to Eckert during the period of time in

  which fees were being negotiated. [Doc. 36-9 at 25; Doc. 18-3 at 2] According to

  Kozolchyk, Eckert had allegedly stated that he would rather pay a defense attorney

  $10,000 than succumb to Kozolchyk’s demands, [Doc. 36-9 at 24-25] but Eckert

  nonetheless agreed to consider Kozolchyk’s second offer to resolve the case for

  $2,000 in attorney’s fees. As to Kozolchyk’s claimed attorney’s fees, Eckert had

  emailed Kozolchyk and indicated that absent corroboration of the fees, the claim

  was “moot.” Nonetheless, Eckert made a counter-offer of $1,100 in attorney’s

  fees. [Doc. 36-9 at 22]




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         D.     Settlement Agreement on July 11, 2018 and Plaintiff’s Motion to
                Approve Settlement

         In any event, Plaintiff argues that on July 11, 2018 the parties entered into a

   settlement agreement acceded to by defendant Eckert via email. And it is this

   agreement that led to the district court’s need to resolve attorney’s fees. [Doc. 36-

   10 at 2-11] The email agreement provided, in relevant part, that Defendants would

   pay Plaintiff (1) reasonable attorney’s fees, as determined by the district court, (2)

   unpaid minimum wages and liquidated damages totaling $551, and (3) costs of

   $523. [Id. at 8] The parties also agreed to enter into a mutual, general release of

   all future claims. [Id. at 2] Asking Kozolchyk to stop churning fees, defendant

   Eckert confirmed that he agreed to the settlement, stating “I already confirmed that

   I agree with your offer. . . . I agree with your offer Elliot, again.” [Id. at 11-12]

   The next day, Kozolchyk filed Plaintiff’s Notice of Settlement with the district

   court. [Doc. 12 at 1]

         On July 13, 2018, attorney Roslyn Stevenson telephoned Kozolchyk and

   informed him that she had been retained by Defendants, who had been representing

   themselves pro se. [Doc. 18-2 at 1] Per Stevenson’s request, Kozolchyk sent her a

   draft of the parties’ July 11th settlement agreement. A few days later, Stevenson

   denied that the parties had a settlement and later forwarded Kozolchyk a revised

   settlement, stating, “[i]f this Agreement is not acceptable, then we do not have a

   settlement.” [Doc. 18-3 at 2; Doc. 18-4 at 1] Unlike the purported July 11th

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   settlement, which included a mutual general release and permitted the court to

   determine reasonable attorney’s fees, Stevenson’s proposed settlement exclusively

   released the Defendants from future claims and stipulated payments of $1,200 for

   both attorney’s fees and costs. [Doc. 18-4 at 1-7]

         On July 19, 2018, Plaintiff filed a motion to approve the parties’ July 11th

   settlement, [Doc. 18 at 1-10], which was promptly denied. [Doc. 19 at 1]

   Additional motions were filed by both parties, and on August 7, 2018, Defendants

   were permitted to deposit $479.03 (representing Plaintiff’s net unpaid wages) into

   the district court’s registry. [Doc. 25 at 1] The district court then ordered Plaintiff

   to show cause as to why her case should not be dismissed now that Defendants had

   tendered her final paycheck. [Doc. 26 at 1] On August 27, 2018, Plaintiff filed her

   response to the court’s Order to Show Cause, coupling it with a Motion for

   Reconsideration of Plaintiff’s Motion to Approve Settlement. [Doc. 28 at 1-14] In

   short, Plaintiff requested that the district court approve the settlement terms which

   she argued were previously agreed upon by the parties on July 11th. [Id. at 8; Doc.

   18-1 at 1, 3]

         E.        The District Court Approves the Parties’ Settlement and Refers
                   Plaintiff’s Motion for Attorney’s Fees to the Magistrate Judge

         On September 17, 2018, the Court formally approved the parties’ settlement

   as outlined in Plaintiff’s Motion for Reconsideration, retained jurisdiction to

   enforce its terms and determine a reasonable attorney’s fee, and dismissed the case.
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   [Doc. 29 at 1; Doc. 28 at 8] In doing so, Plaintiff became the “prevailing party” in

   her FLSA action. See Am. Disability Ass’n v. Chmielarz, 289 F.3d 1315, 1319–21

   (11th Cir. 2002) (holding that the district court’s approval of the terms of the

   settlement coupled with its explicit retention of jurisdiction to enforce its terms is

   sufficient to render the plaintiff a prevailing party). Pursuant to the district court’s

   order, [Doc. 29 at 1], Plaintiff filed her Motion for Attorney’s Fees, requesting

   $10,675 in fees for the 30.5 hours Kozolchyk claimed to have expended litigating

   the case. [Doc. 30 at 1, 7] The district court referred Plaintiff’s Motion for

   Attorney’s Fees to the magistrate judge for a Report and Recommendation

   (“R&R”). [Doc. 31 at 1] The magistrate judge subsequently filed his R&R.

         F.     The Magistrate Judge’s Report and Recommendation

         While acknowledging the general requirement that prevailing plaintiffs in

   FLSA actions receive some award of attorney’s fees, the magistrate judge

   recommended that the Court deny Plaintiff’s motion and award her no attorney’s

   fees. [Id. at 120] The magistrate judge based his recommendation on his

   determination that “it would be ‘unreasonable, unjust, and inequitable to award

   Plaintiff any fees’ in these circumstances.” [Doc. 37 at 11] Specifically, the

   magistrate judge found that (i) Defendants timely issued and mailed Plaintiff her

   final paycheck to the address she provided, (ii) Kozolchyk made no effort to

   contact Defendants to inform them that Plaintiff had not received her check before


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   suing, and (iii) had he done so, he would have discovered that Defendants had sent

   Plaintiff’s paycheck to her address and were willing to immediately issue another.

   [Id. at 5, 10-11] Based on these findings, the magistrate judge concluded that the

   case was a “prototypical ‘nuisance suit’” involving nothing more than a lost

   paycheck which Kozolchyk could have resolved by placing a brief phone call to

   Defendants. [Id. at 1, 10] Accordingly, the magistrate judge deemed Plaintiff’s

   fee demands to be “excessive relative to the minimal work [i.e., a brief phone call]

   necessary to resolve the matter and make his client whole.” [Id. at 10]

         The magistrate judge reasoned that Kozolchyk’s failure to contact

   Defendants prior to filing resulted in an expenditure of judicial time and resources

   on litigation that was entirely unnecessary. [Id. at 11] While the magistrate judge

   acknowledged that pre-filing notice is not a statutory prerequisite for receiving

   attorney’s fees under the FLSA, he concluded that Kozolchyk was not absolved of

   his obligation, as an officer of the court, to avoid unnecessary litigation. [Doc. 37

   at 10] Additionally, the magistrate judge determined that although defendant

   Eckert “made every reasonable effort to resolve the matter” after learning of the

   suit, Kozolchyk “rebuffed” these efforts by continuing to demand attorney’s fees.

   [Id. at 10-11] The magistrate judge emphasized that Kozolchyk refused to accept

   Defendant Eckert’s May 25, 2018 offer to re-cut Plaintiff’s paycheck, even though

   at that point he had only filed a three-page complaint. Furthermore, the magistrate


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   judge noted that Kozolchyk failed to respond to defendant Eckert’s June 13, 2018

   offer to pay the entire amount claimed plus any costs, waiting until July 9, 2018—

   when a court deadline for selection of a mediator was imminent—to send an email

   “refusing to settle the case without payment of his attorney’s fees.”

         In justifying his recommendation not to award Plaintiff any attorney’s fees,

   the magistrate judge relied, in part, on our decision in Sahyers v. Prugh, Holliday

   & Karatinos, P.L., 560 F.3d 1241 (11th Cir. 2009). [Id.] In Sahyers, discussed in

   more detail below, we affirmed a district court’s denial of attorney’s fees to a

   prevailing FLSA plaintiff because her counsel filed a lawsuit without contacting

   the prospective defendants to resolve the matter extra-judicially. Id. at 1245.

   Among other reasons, we concluded that the district court’s inherent powers

   justified its decision not to reward, with an award of attorney’s fees, a lawyer who

   had so wasted judicial time and resources. Id. at 1244–45.

         The magistrate judge also explained that “[d]espite the statutory requirement

   that attorney’s fees be awarded to prevailing plaintiffs in FLSA cases, courts

   recognize ‘special circumstances’ that can render an award of attorney’s fees

   unjust, and so-called nuisance settlements present such a circumstance.” [Id. at 6]

   Specifically, he cited the Eighth Circuit’s decision in Tyler v. Corner Construction

   Corp., 167 F.3d 1202, 1206 (8th Cir. 1999) (explaining that a nuisance settlement

   is a settlement “that is accepted despite the fact that the case against the defendant


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   is frivolous or groundless, solely in an effort to avoid the expense of litigation”),

   and two cases brought in the Southern District of Florida, in which the court denied

   attorney’s fees to prevailing FLSA plaintiffs. See Goss v. Killian Oaks House of

   Learning, 248 F. Supp. 2d 1162, 1168–69 (S.D. Fla. 2003) (applying the nuisance

   settlement exception identified in Tyler to deny fees in an FLSA action); Nelson v.

   Kobi Karp Architecture & Interior Design, Inc., No. 17-23600, 2018 WL 3059980,

   at **2–3 (S.D. Fla. May 8, 2018) (Seitz, J.) (a case in which Kozolchyk was also

   plaintiff’s counsel and was denied any attorney’s fees). [Id. at 6-9]

         G.     The District Court Affirms and Adopts the Magistrate Judge’s
                Report and Recommendation

         In a summary order adopting the factual determinations and legal

   conclusions contained in the R&R, and rejecting Plaintiff’s objections, the district

   court approved the magistrate judge’s R&R denying Plaintiff’s motion for

   attorney’s fees in its entirety. [Docs. 38, 40] Notably, in her objections to the

   R&R, Plaintiff had filed an affidavit averring that on the day after being fired, she

   had telephoned someone in Defendants’ payroll department to request her last

   check. According to Plaintiff, that person stated that Plaintiff would be paid via a

   direct deposit. [Doc. 38-1 at 2] And, in fact, direct deposit was the means by

   which Defendants had provided pay for Plaintiff’s first week’s work. [Id. at 1]

   But three days later, with no direct deposit having yet occurred, Plaintiff again

   called Defendants’ office and spoke to the receptionist, who “said that Dr. Eckert
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   was not going to pay [her].” [Id. at 2] Plaintiff likewise averred that she never

   received the February 8 check that Defendants claims to have mailed her. [Id.]

   Shortly thereafter, Plaintiff retained Kozolchyk.

         The district court did not address the above allegations in its order denying

   attorney’s fees. And, as earlier noted, Defendants had not provided an affidavit

   supporting their own allegations regarding the issuance of a check to Plaintiff.

   Thereafter, Plaintiff timely filed the present appeal of the district court’s order

   denying attorney’s fees. [Doc. 41]

   II.   STANDARD OF REVIEW

         “We review a district court’s decision whether to award attorney’s fees and

   costs for abuse of discretion.” Dionne v. Floormasters Enters., Inc., 667 F.3d

   1199, 1203 (11th Cir. 2012). We will not set aside the district court’s

   determination of what fee is reasonable pursuant to § 216(b) of the FLSA absent a

   “clear abuse of discretion.” Kreager v. Solomon & Flanagan, P.A., 775 F.2d 1541,

   1543 (11th Cir. 1985). An abuse of discretion occurs if the judge fails to apply the

   proper legal standard, follows improper procedures, or bases an award of

   attorney’s fees upon findings of fact that are clearly erroneous. In re Red Carpet

   Corp. of Panama City Beach, 902 F.2d 883, 890 (11th Cir. 1990). We review

   questions of law de novo and factual findings for clear error. See Bivins v. Wrap it




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   Up, Inc., 548 F.3d 1348, 1351 (11th Cir. 2008); Atlanta Journal & Constitution v.

   City of Atlanta Dep’t of Aviation, 442 F.3d 1283, 1287 (11th Cir. 2006).

   III.   DISCUSSION

          Plaintiff argues that, as the prevailing party, the FLSA indicates that she is

   entitled to a reasonable attorney’s fee. She is right about that. No one disagrees

   that she is the prevailing party nor that the FLSA so provides. See 29 U.S.C.

   § 216(b) (“The court in such action shall, in addition to any judgment awarded to

   the plaintiff or plaintiffs, allow a reasonable attorney’s fee to be paid by the

   defendant, and costs of the action.”). The key word for purposes of this appeal,

   however, is the word “reasonable.” Determining a “reasonable” fee under the

   FLSA “is left to the sound discretion of the trial judge.” Kreager, 775 F.2d at

   1543. And our own precedent has indicated that, at least in the FLSA context,

   there are some cases where a reasonable fee award is zero. See Sahyers v. Prugh,

   Holliday & Karatinos, P.L., 560 F.3d 1241, 1244 (11th Cir. 2009).

          A.    District Court Cases

          The question then is whether the district court abused its discretion when it

   concluded that a reasonable fee in this case was no fee. And to figure that out, it is

   helpful to identify any guidance provided by analogous caselaw. On that score,

   district courts within our Circuit have dealt with fact patterns somewhat similar to

   what Defendants argue, and the magistrate judge agreed, are the facts here.

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   Specifically, an employee leaves her job—often abruptly—with a small amount of

   money owed for unpaid wages. Instead of thereafter contacting her employer to

   alert the latter that she has not yet received payment of any unpaid wages, the

   employee hires a lawyer. Then, instead of contacting the employer to quickly

   resolve the matter—or directing the former employee to first do so—the attorney

   files an FLSA federal lawsuit: a lawsuit whose $400 filing fee, alone, will often

   exceed the money owed to the employee. Once aware of litigation, the employer

   then immediately tries to rectify the situation by getting to the employee her last

   check. But instead of a speedy resolution, the litigation drags on because the

   employee’s attorney insists on attorney’s fees in an excessive amount that the

   employer rejects. The employer’s rejection results in continuing emails and

   communications back and forth, meaning that as long as plaintiff’s counsel can

   keep this give-and-take going, his attorney’s fees continue to rise, which then

   further discourages a settlement. And so it goes.

         The seminal district court case—and the one often cited by district courts

   who decide to award either no attorney’s fees or sharply reduced fees in these

   types of FLSA suits—is Goss v. Killian Oaks House of Learning, 248 F. Supp. 2d

   1162 (S.D. Fla. 2003) (Moreno, J.). There the plaintiff-employee had been fired

   for improper conduct after working less than two weeks for the defendant-

   employer. Id. at 1164. Owed two days’ pay, she was told to pick up her check but


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   refused to do so. Id. Instead, she hired a lawyer and sued the employer for failure

   to pay her the wages in question. Id. Soon thereafter, the employer attempted to

   ascertain the amount of her claim in order to resolve the matter. Id. at 1165. Her

   counsel refused to provide details of her claim and instead insisted on formal

   discovery. Id. The employer repeatedly sought to ascertain the amount of the

   claim in order to resolve it and to cease incurring any more attorney’s fees. Id.

   Plaintiff’s counsel was unresponsive. Id. Nevertheless, the employer tendered the

   $137.03 owed to the plaintiff.5 Id.

          The case then proceeded to a determination of reasonable attorney’s fees by

   the district court. Id. at 1167. Plaintiff’s counsel asked for over $16,000 in fees

   for a case that was settled for a little over $300. Id. at 1167–68. The court noted

   that notwithstanding the FLSA’s provision for a mandatory award of attorney’s

   fees for a prevailing plaintiff, “an entitlement to attorney’s fees cannot be a carte

   blanche license for Plaintiffs to outrageously and in bad faith run up attorney fees

   without any threat of sanction.” Id. at 1168. And in the case before it, the district

   court observed that counsel’s “behavior casts doubt on his insistence that all fees

   were reasonable,” as he continued to litigate a matter “that could have been



   5
     At this point, plaintiff’s counsel then asserted that the employer owed plaintiff money for
   overtime, but provided no specifics about the claim. Id. Albeit denying that it owed anything on
   this claim, but to resolve litigation that stood to be more expensive than just paying the employee
   the small amount of money that she sought, the employer cut a check for the maximum potential
   amount of overtime that could possibly be claimed for the employee’s short tenure. Id.
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   disposed of by making a few phone calls before filing suit.” Id. Moreover, the

   meager damages paid by the employer represented “a nuisance settlement that was

   made solely in an effort to avoid the expense of litigation” and after the employer

   had “attempted to resolve the case numerous times in an effort to avoid precisely

   the grossly excessive fee requests that are present in this case.” Id.

         The district court concluded that there are “special circumstances” that can

   render the award of any attorney’s fees unjust and that “so-called nuisance

   settlements represent such a circumstance.” Id. Indeed, the court concluded that

   counsel had “leveraged a small sum as a stepping-stone to a disproportionately

   large award of attorney’s fees” by “continuously employ[ing] a strategy of delay

   and obfuscation . . . to ward off the inevitable resolution of the case.” Id.

   Counsel’s litigation activity was “calculated to ‘churn’ the file and extract as much

   attorney’s fees as possible from . . . a modest claim not deserving of the many

   hours of work.” Id. at 1168–69. Concluding that counsel had pursued a “strategy

   of ‘shaking down’ Defendants with nightmarishly expensive litigation solely in

   pursuit of attorney’s fees” and that such conduct “must not be rewarded,” the court

   awarded no attorney’s fees. Id. at 1169. Its bottom line: “[T]he suit was frivolous

   in the first instance and Plaintiff’s counsel grossly exaggerated the amount of hours

   expended.” Id.




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         Subsequent district courts have relied on Goss to disallow any attorney’s

   fees to plaintiff’s counsel in analogous FLSA cases. For example, in Nelson v.

   Kobi Karp Architecture & Interior Design, Inc., No. 17-23600, 2018 WL 3059980

   (S.D. Fla. May 8, 2018) (Seitz, J.), the court denied in its entirety a fee request by

   counsel in this case, Mr. Kozolchyk. Id. at *3. In that case, the plaintiff-employee

   had sued under the FLSA for two days of unpaid wages, worth $116, and after

   settlement, Kozolchyk had sought over $9,000 in attorney’s fees. Id. at **1–2.

   The defendant-employer opposed the imposition of any attorney’s fees, arguing

   that counsel had refused early settlement in an attempt to run up attorney’s fees.

   Id. at **2–3.

         Acknowledging that the FLSA provides for the award of reasonable fees, the

   district court noted that there are cases where a reasonable fee is no fee, and it

   found that Nelson was one of those cases. Id. at *2. As to the facts, the court

   noted that prior to filing suit, neither the plaintiff nor her counsel attempted to

   reach out to the employer defendants to resolve the matter, which was significant

   as there was no evidence that the plaintiff-employee had submitted to her employer

   the paperwork required for payment. Id. at *1. Once suit was filed, the employer

   immediately tried to resolve the matter by paying the small amount of money at

   issue, plus $1,500 in attorney’s fees and costs, even though at the time Mr.

   Kozolchyk had spent less than 4 hours on the case. Id. Kozolchyk declined. Id.


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   The employer, through counsel, then physically tendered the money in question

   and offered $2,000 in fees and costs, but Kozolchyk again refused to settle for this

   amount of attorney’s fees. Id. at **1, 3. The district court noted that of the 25.8

   hours ultimately claimed by Kozolchyk, 17.7 of these hours were incurred after his

   receipt of the checks in full payment of damages. Id. at **2–3.

          In awarding Kozolchyk no fees at all, the district court noted that the

   plaintiff had made no attempt to resolve the matter prior to filing suit, albeit the

   court also acknowledged that the FLSA does not require pre-suit notice or demand.

   Id. at *3 & n.2. More significantly, the court concluded that Kozolchyk’s rejection

   of the employer’s offer of $2,000 in fees and his insistence on fees of $3,000 was

   unreasonable and would have created a windfall for him, given that, at best, his

   fees totaled only $1,260 based on his own records. Id. at *3. That being so, the

   court concluded that Kozolchyk’s “sole intent [at that point] was to run up his bill.”

   Id. Accordingly, the district court found it “unreasonable, unjust, and inequitable

   to award Plaintiff any fees.” Id.

          Likewise, in Olguin v. Florida’s Ultimate Heavy Hauling, No. 17-61756,

   2019 WL 3426539 (S.D. Fla. June 5, 2019) (Goodman, J.), another FLSA action,

   the magistrate judge denied Mr. Kozolchyk any attorney’s fees,6 stating:



   6
     The district court adopted the magistrate judge’s recommendation. [17-cv-61756-MCG, S.D.
   Fla., Doc. 110 (July 23, 2019)]
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         [T]his lawsuit (which quickly morphed from an extremely small claim
         worthy of a telephone call into a full-fledged litigation war) should
         never have been a lawsuit in the first place. But, once filed, this lawsuit
         should have been quickly and inexpensively resolved. It wasn’t.
         Indeed, what should have been, at most, a modest, manageable, garden-
         variety squabble under the Fair Labor Standards Act involving a claim
         of less than $1,000 and a settlement of $783 . . . mushroomed into a
         full-scale, pedal-to-the metal litigation war and an epic battle over
         attorney’s fees.

   Id. at *1 (emphasis in original). As to the underlying facts, the court noted that,

   because the plaintiff-employee “abandoned his position mid-work week, his

   automatic payroll deposit for a full-week’s salary was reversed and a check [in the

   appropriate amount] was prepared and made available to him” eleven days before

   suit was filed. Id. at *4. Nevertheless, the plaintiff never retrieved his final

   paycheck. Id. The court noted that Kozolchyk never asked the employer about the

   status of the plaintiff’s final paycheck before filing suit, nor ever indicated why he

   did not do so. Id. After the filing of the suit, the employer unconditionally

   tendered to Kozolchyk all the wages requested by the plaintiff, but Kozolchyk

   refused to accept the tendered paycheck. Id. at **5, 19. Lengthy litigation then

   ensued on a separate overtime claim that Kozolchyk abandoned, and later

   dismissed with prejudice, after putting the defendants to the burden of answering

   discovery and filing a summary judgment motion. Id. at **5, 10.

         Ultimately, the parties settled the remaining minimum wage claim for which

   the employer had long before tendered a check. Id. at 6. Plaintiff sought


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   attorney’s fees of over $36,000. Id. at *1. In declining to award him any fees, 7 the

   district court noted that Plaintiff had settled for an amount far less than the initial

   demand (which included both the minimum wage and the overtime claim); that the

   claim “largely involved an administrative scenario generated by the simple fact

   that Plaintiff ended his employment in the middle of the week”; that neither the

   plaintiff nor Kozolchyk had contacted the employer to see if the dispute could be

   amicably and quickly resolved without the need for a lawsuit; and that Kozolchyk

   had failed to exercise due diligence to determine that the plaintiff was exempt from

   any overtime requirement imposed by the FLSA. Id. at *14.

          Based on the above conduct, the court concluded that “Kozolchyk’s focus on

   his own fees is the only logical explanation for the failure to accept Defendants’

   tender of the check for payment” of the minimum wage claim. Id. Further, the

   court determined that “Kozolchyk’s actions seem designed to perpetuate the

   litigation, rather than to reach a just, efficient, and timely result for his client. In

   other words . . . the Undersigned finds that his conduct was part of a strategy to

   churn the file and create unnecessary attorney’s fees.” Id. Further, “the requested

   amount of fees is grossly lopsided when compared to both the amount in

   controversy and the final settlement.” Id.


   7
     In addition, the court required Kozolchyk to pay over $30,000 in attorney’s fees to the
   defendants as a sanction imposed pursuant to 28 U.S.C. § 1927 based on Kozolchyk’s bad faith
   with regard to the abandoned overtime claim. Id. at *15.
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         On the other hand, not all district court cases with analogous facts have

   resulted in a decision to award no attorney’s fees to the FLSA plaintiff’s attorney.

   In another case involving Mr. Kozolchyk, Johnson v. Southern Florida Paving

   Group, No. 16-CV-62689, 2020 WL 5113592 (S.D. Fla. Aug. 31, 2020) (Valle, J.),

   the magistrate judge rejected the defense’s request to award no attorney’s fees,

   although the judge did reduce those fees. Id. at **2, 7. There, even though under

   the settlement agreement the plaintiff-employee had recovered only $350 for

   unpaid wages (with an equivalent amount added for liquidated damages),

   Kozolchyk requested $10,320 in attorney’s fees. Id. at *1. The bulk of those fees

   had been generated as a result of the parties’ inability to agree on the proper

   amount of attorney’s fees. See id. at **2, 4.

         Relying on our decision in Sahyers as one ground for denying Kozolchyk

   any fees, the defendant argued that Kozolchyk should have first made a pre-suit

   demand and that, had that happened, the matter would have been quickly resolved.

   Id. at *2. The magistrate judge made quick work of that argument, noting that, by

   its own terms, Sahyers was based on the ethical duty of civility within the legal

   profession and was limited to a scenario in which a plaintiff’s lawyer had sued

   other lawyers for an FLSA violation without first giving pre-suit notice. Id. at

   **2–3. The court likewise distinguished the case before it from other cases that

   had denied fees to the FLSA plaintiff’s counsel. Specifically, the magistrate judge


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   noted that in those cases the defendants had made multiple offers to settle, whereas

   other than demanding that the plaintiff voluntarily dismiss the action, the

   defendants before her had made no effort to settle the case until mediation. Id. at

   *3. Likewise, in the other cases, the defendants had either tendered or tried to

   tender payment of the claimed wages: a gesture that did not occur in the present

   case. Id. at *4. Finally, Kozolchyk did not request excessive attorney’s fees prior

   to settlement, meaning that it was not reasonable to assume that Kozolchyk was

   protracting the litigation in order to churn his legal fees. Id. Given the absence of

   any effort to tender payment of the plaintiff’s claim, counsel could not be faulted

   for continuing to litigate. Id.

         In short, the court found no “special circumstances” that would warrant a

   total denial of counsel’s fees. Id. That said, and noting its duty to determine

   whether a requested fee is reasonable, the court held that a reduction of Mr.

   Kozolchyk’s requested fees was necessary. Id. at *5. Concluding that a fee award

   of over $10,000 would be greatly disproportionate given “the straightforwardness

   and mundaneness of the issues” and the fact that the damages were valued at only

   $350, the court reduced the fees by 35%. Id. at **6–7.

         In Munoz v. Kobi Karp Arch. & Interior, No. 09-21273, 2010 WL 2243795

   (S.D. Fla. May 13, 2010) (Simonton, J.), the magistrate judge rejected the

   defendant’s argument that the plaintiff was entitled to no attorney’s fees following


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   the settlement of his FLSA claim for unpaid overtime. Id. at *3. First, the court

   noted that, contrary to defendant’s contention, the plaintiff was not required to give

   notice prior to initiating the action. Id. at *3 n.1. Further, the settlement was not

   for a de minimis amount in damages nor did plaintiff’s counsel delay resolution of

   the case in order to “drive up” attorney’s fees. Id. at **3–4. Distinguishing Goss,

   the court noted that the damages paid in the case before it did not constitute a

   “nuisance settlement”; that there was not the striking disparity between the

   recovery ($2,384.28) and the requested attorney’s fees ($5,277.50), as was present

   in Goss; and that plaintiff’s counsel had been cooperative in responding to the

   defendant’s request for more information about the amount the plaintiff claimed to

   be owed. Id. at **1, 4. The court did, however, decide that the matter could have

   been resolved “in a more expeditious and less costly manner,” and it therefore

   reduced plaintiff’s requested attorney’s fees by approximately 20%. Id. at **3, 9.

         B.     Analysis

         As set out above, a prevailing plaintiff in an FLSA action is entitled to

   reasonable attorney’s fees. Notwithstanding that entitlement, our Court in Sahyers

   recognized the possibility that, in an appropriate circumstance, a reasonable fee

   may be no fee at all. Sahyers, 560 F.3d at 1244. The question before us is whether

   the district court abused its discretion in ruling that the circumstances of the

   present case supported its decision to award no fees to Plaintiff’s counsel, Elliott


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   Kozolchyk. Also as noted above, an abuse of discretion occurs if the judge fails to

   apply the proper legal standard, follows improper procedures, or bases an award of

   attorney’s fees upon findings of fact that are clearly erroneous. Red Carpet Corp.,

   902 F.2d at 890.

          As to the reasons offered by the magistrate judge for his recommendation to

   award no fees,8 the judge acknowledged that attorney’s fees should be awarded to

   a prevailing plaintiff absent “special circumstances.” And citing to the discussion

   in Goss, the court identified, as a potential special circumstance, a “nuisance

   settlement,” which it defined as a settlement that a defendant accedes to, despite

   the fact that the case against the defendant is frivolous or groundless, “solely in an

   effort to avoid the expense of litigation.” [Doc. 37 at 6] The judge also relied on

   the district court decision in Nelson, noting that the facts present in it and Goss

   were very similar to the facts in the present case, including the fact that in each

   case Kozolchyk had been the attorney. [Id. at 9]

          As to the specific faults the magistrate judge laid at the feet of Kozolchyk,

   the court stated that Kozolchyk had made no effort to contact Defendants before

   filing suit and that had he done so, “he would have discovered that Defendants had

   actually sent to his client’s address the paycheck she was owed and, further, that



   8
    As noted above, the district court judge adopted in a summary order the magistrate judge’s
   R&R.
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   they were willing to immediately cut another check.” [Id. at 10] Repeating this

   concern, the R&R stated, “At all times this case has involved a lost paycheck—

   nothing more . . . . Plaintiff and/or her counsel could have resolved this matter

   simply by placing a brief telephone call to Defendants and without the need to file

   suit. The fact that the FLSA does not impose a pre-filing notice requirement does

   not absolve counsel of his obligation as an officer of the court to avoid unnecessary

   litigation.” [Id.]

          The magistrate judge also considered Kozolchyk’s conduct after filing the

   lawsuit to be blameworthy. Although Defendants offered to immediately cut a

   new check for Plaintiff, Kozolchyk responded with fee demands that the court

   considered to be excessive. Specifically, the magistrate judge noted that

   Kozolchyk’s initial attorney’s fee demands during his first contacts with defendant

   Eckhart were excessive relative to the work performed, as Kozolchyk first

   demanded a fee of $3,200, and then $2,750—these demands being made at a time

   when he had only filed a three-page skeletal complaint, a quarter-page statement of

   claim, and a one-paragraph request for appointment of a mediator. [Id. at 11]

   Ultimately, Kozolchyk asked the court to award him attorney’s fees in the amount

   of $10,675—the bulk of these fees having been generated by the sparring between

   Kozolchyk and Defendants over the appropriate amount of attorney’s fees. The




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   court concluded that as in Nelson, under all the circumstances, “it would be

   unreasonable, unjust, and inequitable to award Plaintiff any fees.” [Id.]

          As to the failure of the plaintiff’s counsel to notify an employer of a

   potential claim prior to filing suit, the magistrate judge acknowledged that the

   FLSA does not require such notice. And that observation is, of course, accurate. It

   is true that in Sahyers we held that the absence of such notice supported the district

   court’s denial of any attorney’s fees in the FLSA case before it. But that holding,

   based on a trial court’s inherent authority to require civility and collegiality by

   attorneys appearing before it, was limited to the particular facts before our court:

   an FLSA suit filed against fellow attorneys as defendants. Sahyers, 560 F.3d at

   1245. 9 Indeed, we added a strong caveat warning against a broad application of

   this principle in other contexts:

          We strongly caution against inferring too much from our decision
          today. These kinds of decisions are fact-intensive. We put aside cases
          in which lawyers are not parties. We do not say that pre-suit notice is
          usually required or even often required under the FLSA to receive an
          award of attorney’s fees or costs. . . . We conclude only that the district
          court did not abuse its discretion in declining to award some attorney’s
          fees and costs based on the facts of this case.

   Id. at 1246.


   9
     “[T]his conscious disregard for lawyer-to-lawyer collegiality and civility caused (among other
   things) the judiciary to waste significant time and resources on unnecessary litigation and stood
   in stark contrast to the behavior expected of an officer of the court. The district court refused to
   reward—and thereby to encourage—uncivil conduct by awarding Plaintiff attorney’s fee or
   costs.” Sahyers, 560 F.3d at 1245 (footnote omitted).


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         The absence of any pre-filing inquiry by counsel, however, was ancillary to

   the factor that most strongly motivated the district court’s decision: “At all times

   this case has involved a lost paycheck—nothing more . . . . Plaintiff and/or her

   counsel could have resolved this matter simply by placing a brief telephone call to

   Defendants and without the need to file suit.” (emphasis added). [Id. at 10] In

   other words, litigation in which the defendant-employer has done what it should

   reasonably do to get payment to a former employee, but in which the employee or

   her attorney has made no pre-suit effort to inform the employer that the payment

   was never received creates a scenario fitting into the magistrate judge’s “nuisance

   litigation” category. For example, in Goss, the employer had the former

   employee’s check ready for her, but she simply chose not to pick it up. Goss, 248

   F. Supp. 2d at 1164. Instead, she and her attorney decided to sue so that she could

   not only get the unretrieved check that she had refused to pick up, but also receive

   liquidated damages as well as gain attorney’s fees for a totally unwarranted

   lawsuit. Id. at 1164–65. As the Goss court noted, such conduct indicated that the

   sole basis of the litigation was to gain attorney’s fees and that such bad faith by an

   attorney should not be rewarded with fees. Id. at 1168–69. Cf. Malden v. Wings

   Over Emerald Coast, Case No. 18-CV-260, 2019 WL 1245866 at *7 (N.D. Fla.

   Feb. 20, 2019) (although the FLSA does not require pre-filing written notification,

   an attorney is always subject to Federal Rule of Civil Procedure Rule 11(b)(1),


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   which obliges a lawyer to make reasonable inquiry into the facts underlying a

   claim).

         But as described by the magistrate judge, nuisance litigation is characterized

   not only by the extortionate nature of the action—litigation over a small amount of

   damages that will subject the putative defendant to exorbitant legal costs absent a

   settlement—but also by the frivolity and groundless nature of the claim. Here, the

   court clearly found that the present claim was groundless, and it was this finding

   that was the primary impetus for the court’s decision to disallow attorney’s fees in

   their entirety. That is, the magistrate judge concluded that Defendants had, in fact,

   mailed a final check to Plaintiff at the address she had provided and that it was up

   to Plaintiff or her attorney to advise Defendants that she had not received this

   check that she understood they would be remitting to her. As the magistrate judge

   reasoned, regardless of the fact that the FLSA fails to require written pretrial

   notice, it is incumbent on an attorney to exercise some diligence before filing a

   legal action, with counsel’s legal fees in peril if it turns out that the employer was

   faultless and that a simple inquiry would have so indicated.

         Essential to the conclusion reached by the magistrate judge was his belief

   that the employer had mailed a check to Plaintiff and thereby done what it was

   supposed to do. Yet, to withstand challenge, a factual finding by a court has to be

   supported by evidence. And that is the problem here. As noted in her objections


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   to the R&R, Plaintiff disputed the accuracy of the magistrate judge’s finding, filing

   an affidavit averring that she had indeed telephoned Defendants’ office to request

   her check, but had been told she would not be paid. As to the accuracy of

   Defendants’ allegation that they had mailed her a check, she averred that the only

   other payment she had previously received from Defendant was via a direct deposit

   and, in fact, that in an earlier call to the payroll department, she had been told that

   she would be paid via direct deposit. Moreover, shortly after the case had been

   filed, Defendants’ corporate counsel stated in an email to Kozolchyk that Dr.

   Eckert had explained, “[T]here was a miscommunication with the payment,” [Doc.

   36-3] not that a check had actually been mailed. Finally, Plaintiff averred that she

   had never received the check that Defendants claimed to have mailed to her, albeit

   she was living at the address to which their check was purportedly sent.

         In fairness to the magistrate judge, the above allegations were made by

   Plaintiff via her objections to the R&R—an event that by definition occurred only

   after the magistrate judge had issued the R&R. Thus, he had no occasion to

   resolve the dispute. Yet, as Defendants had never supported their factual position

   with an affidavit, their assertions were likewise insufficient to create an adequate

   evidentiary basis for findings that Plaintiff ultimately contested.

         Because the primary basis of the R&R’s conclusion that no attorney’s fees

   should be awarded is the finding that Defendants had actually mailed a final check


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   to Plaintiff prior to her lawsuit, we remand this case to the district court to address

   that and all related issues and to consider anew the question of attorney’s fees. Of

   course, if the district court determines on remand that the record will not support a

   total denial of attorney’s fees, the court will still need to determine what is a

   reasonable amount of fees under all the circumstances. That examination will

   necessarily involve an assessment of the relative reasonableness of each party’s

   actions during the tedious negotiation process, including the extent to which

   counsel Kozolchyk had initially requested exorbitant fees, which request

   Defendants argue was the unreasonable act that prompted ensuing negotiations and

   triggered the additional expense that Kozolchyk now tries to reap.10

   IV.    CONCLUSION

          For the reasons explained above, the case is REVERSED and

   REMANDED to the district court for proceedings consistent with this opinion.




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      As noted, at this early stage of communications, in which Kozolchyk had filed only a short,
   uncomplicated complaint, Defendant Eckert offered $1,100 in fees, which offer was not accepted
   by Kozolchyk.
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                                              UNITED STATES COURT OF APPEALS
                                                 FOR THE ELEVENTH CIRCUIT

                                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                              56 Forsyth Street, N.W.
                                                              Atlanta, Georgia 30303


   David J. Smith                                                                                                        For rules and forms visit
   Clerk of Court                                                                                                        www.ca11.uscourts.gov

                                                            February 01, 2021

   MEMORANDUM TO COUNSEL OR PARTIES

   Appeal Number: 19-10133-GG
   Case Style: Mitzy Batista v. South Florida Womans Health, et al
   District Court Docket No: 0:18-cv-61075-FAM

   This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF") system, unless
   exempted for good cause. Non-incarcerated pro se parties are permitted to use the ECF system by registering for an
   account at www.pacer.gov. Information and training materials related to electronic filing, are available at
   www.ca11.uscourts.gov. Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this day been
   entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with FRAP 41(b).

   The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition for rehearing en
   banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for inmate filings, a petition for rehearing
   or for rehearing en banc is timely only if received in the clerk's office within the time specified in the rules. Costs are governed
   by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for attorney's fees and an objection thereto is
   governed by 11th Cir. R. 39-2 and 39-3.

   Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a complete list of all
   persons and entities listed on all certificates previously filed by any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a
   copy of the opinion sought to be reheard must be included in any petition for rehearing or petition for rehearing en banc. See
   11th Cir. R. 35-5(k) and 40-1 .

   Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for time spent on the
   appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme Court of a petition for writ of
   certiorari (whichever is later) via the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
   cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher system.

   Pursuant to Fed.R.App.P. 39, each party to bear own costs.

   For questions concerning the issuance of the decision of this court, please call the number referenced in the signature block
   below. For all other questions, please call Joseph Caruso, GG at (404) 335-6177.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Jeff R. Patch
   Phone #: 404-335-6151

                                                                                                          OPIN-1A Issuance of Opinion
